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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

ELIZABETH MAGAZINE,
f/k/a ELIZABETH PEKIN,

       Plaintiff,
v.                                                    CASE NO. 1:21-cv-06686-LJL

LEGAL BUSINESS SERVICES, LLC, a
Delaware limited liability company,
MOMENTUM FUNDING, LLC, a Delaware
limited liability company,
WESTBURY MANAGEMENT GROUP, LLC,
a Delaware limited liability company, and
PLAINTIFF FUNDING HOLDING, LLC,
a Delaware limited liability company,

       Defendants.
_________________________________________/
                     NOTICE OF DISMISSAL WITHOUT PREJUDICE

       The Plaintiff, Elizabeth Magazine f/k/a Elizabeth Pekin (hereafter “Magazine”), by and

through her undersigned counsel, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, hereby provides notice of the voluntary dismissal of this action, without prejudice.

       After the Complaint was filed, it was discovered that Defendant Westbury Management

Group, LLC, is a citizen of numerous states, including Florida. As such, complete diversity of

citizenship does not exist, and this Court is without subject matter jurisdiction.

       Date: August 25, 2021.                 Respectfully Submitted,

                                              s/Jill S. Schwartz
                                              Jill S. Schwartz, Esquire
                                              Florida Bar No. 0523021
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